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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
MONTER, individually and on behalf of others similarly :
situated,                                                             :             11/5/2020
                                                                      :
                                            Plaintiffs,               :
                                                                      :   1:19-CV-1257 (ALC) (SN)
                 -against-                                            :
                                                                      :
99 THAI PLAYGROUND LLC, ET AL.,                                       :
                                                                      :
                                            Defendants.               :
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ANDREW L. CARTER, JR., District Judge:

         On September 17, 2020, this Court issued an order that Plaintiff show cause why the

instant matter should not be dismissed as to Defendant Bruck for inadequate service of process,

or else why good cause exists for the Court to extend time for service pursuant to Rule 4(m) of

the Federal Rules of Civil Procedure. ECF No. 104. Upon consideration of the parties’

submissions, ECF No. 105-107, and for good cause shown, the Court hereby EXTENDS

Plaintiff’s time to serve Defendant Bruck under Rule 4(m) by 30 days from the date of this

Order.

SO ORDERED.


Dated:            New York, New York
                  November 5, 2020

                                                     ____________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
